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12
                         IN THE UNITED STATES DISTRICT COURT
13

14                                 DISTRICT OF ARIZONA

15   Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
16
                  Plaintiff,                         NOTICE OF DEFENDANTS’
17                                                   SERVICE OF DISCOVERY
     vs.
18                                                   RESPONSES TO PLAINTIFF’S
                                                     FIRST REQUEST FOR
19   Jeffrey Bardwell and Fanny F. Bardwell,
     husband and wife,                               PRODUCTION OF DOCUMENTS
20                                                   AND INTERROGATORIES
                  Defendants.
21

22         Defendants Jeffrey Bardwell and Fanny F. Bardwell, by and through their
23
     attorneys of record, hereby provide Notice of Service to the court of Defendants’
24
     Responses to Plaintiff’s First Request for Production of Documents and Interrogatories.
25

26                Dated this 8th of August, 2019.
27
                                               By: /s/ Thomas J. Marlowe
28                                             LAW OFFICES OF THOMAS J. MARLOWE
                                               Attorney for Defendant


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              Case 2:19-cv-00239-GMS Document 21 Filed 08/08/19 Page 2 of 2



1                                 CERTIFICATE OF SERVICE
2
             I, Thomas J. Marlowe, hereby certify that on August 8, 2019, I electronically
3

4
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing

5    and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this
6
     case.
7
     By: /s/ Thomas J. Marlowe
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